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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


KILMAR ARMANDO
ABREGO GARCIA, et al.,

                       Plaintiffs,

   v.                                              Case No. 8:25-cv-00951-PX

KRISTI NOEM, et al.,

                       Defendants.


  PRESS MOVANTS’ MOTION TO INTERVENE AND UNSEAL COURT RECORDS

        Pursuant to Federal Rule of Civil Procedure 24(b) and Local Rule 105.11, Proposed

Intervenors Dow Jones & Company, Inc., publisher of The Wall Street Journal, American

Broadcasting Companies, Inc. d/b/a ABC News, The Associated Press, Bloomberg L.P., Cable

News Network, Inc., CBS Broadcasting Inc. o/b/o CBS News, Fox News Network, LLC, National

Public Radio, Inc., NBCUniversal Media, LLC d/b/a NBCUniversal News Group, The New York

Times Company, The New Yorker, NYP Holdings, Inc., publisher of The New York Post, Reuters

News & Media Inc., and WP Company LLC d/b/a The Washington Post (together, the “Press

Movants”) respectfully move to intervene in this matter for the limited purpose of seeking access

to certain court records that have been sealed in this action. The grounds for this motion are set

forth in the accompanying memorandum of law. A proposed order is also attached.

        Dated: May 6, 2025                Respectfully submitted,

                                          BALLARD SPAHR LLP

                                          /s/ Maxwell S. Mishkin
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